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The Honorable Paul A. Engelmayer
United States District Judge
United States District Court
Thurgood Marshall Courthouse
40 Centre Street
New York, NY 10007

Dear Judge Engelmayer,
I have been a friend of Ari Teman for a few years as a fellow designer. He was active in a
support group for designers called Jewish Designers Lounge. He was very supportive and
encouraged designers to value themselves and how to grow in their careers.

He is a friend I can count on and he is always looking out for others’ best interest. He truly cares
about other people doing well.
Ari invited me and my husband into his house, and often asked about the wellbeing of our kids
and our careers. He would make sure to have Kosher food that we could eat whenever he had us
over for events.

I believe he truly values honesty and doing things the right way.

Sincerely,
Rivka Korf
